                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION


John Patrick Morgart,                                      Civil Action No. 5:18-cv-524

                   Plaintiff,
                                                            NOTICE OF REMOVAL
       vs.

Allscripts Healthcare Solutions, Inc. and
Allscripts Healthcare, LLC,

                   Defendant.



       Allscripts Healthcare Solutions, Inc. and Allscripts Healthcare, LLC (hereinafter

collectively referred to as “Allscripts” or “Defendants”) petition this Court for removal of the

above-entitled action to the United States District Court for the Eastern District of North

Carolina, Western Division, from the District Court Division of Johnston County, North

Carolina, and for its Notice of Removal states:

       1.       On September 14, 2017, John Patrick Morgart (herein referred to as “Morgart” or

“Plaintiff”) commenced an action in the District Court Division of Johnston County, North

Carolina, entitled John Patrick Morgart v. Allscripts Healthcare Solutions, Inc. and Allscripts

Healthcare, LLC; No. 17-CVD-2862 (the “State Court Proceeding”), by filing Plaintiff’s

Complaint. On or about November 21, 2017, Defendants were served with a copy of the

Plaintiff’s Complaint. On or about December 20, 2017, Defendants timely served and filed their

Answer.

       2.       While not clear from the face of Plaintiff’s Complaint, the above-entitled action

appeared to constitute a claim by Plaintiff against Defendants alleging breach of a contract for

which Plaintiff alleges he is entitled to money damages. Despite asking Plaintiff for clarification




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as to the nature of his claims, Defendants did not learn of the precise nature of his claims until

his deposition. At Plaintiff’s deposition on October 4, 2018, 1 Defendants first learned that

Plaintiff sought payment pursuant to Allscripts Healthcare Solutions, Inc. Severance Plan, which

is part of an “employee welfare benefit plan” as defined under the Employee Retirement Income

Security Act of 1974, as amended, 29 U.S.C. § 1001, et seq. (”ERISA”) at § 1002(1) & (3).

Accordingly, Defendants timely file this notice of removal pursuant to 28 U.S.C. § 1446(b)(3).

           3.       As Plaintiff’s Complaint asserts a claim for benefits arising under ERISA, this

Court has jurisdiction over the issues presented therein pursuant to 28 U.S.C. § 1331 (federal

question) and 29 U.S.C. § 1132(e)(1) (ERISA). This matter may be removed pursuant to §

1441(a), in that Plaintiff’s claims against Defendants arise under and are governed by ERISA,

which completely preempts any state law claims alleged in Plaintiff’s Complaint and provides

the exclusive federal remedy for resolution of claims by employee benefit plan participants,

beneficiaries, or their representatives to recover benefits from such plans. 29 U.S.C. §§ 1132(a)

and (e); see Aetna Health Inc. v. Davila, 542 U.S. 200 (2004); Ingersoll-Rand Co. v. McClendon,

498 U.S. 133 (1990); Pilot Life Insurance Co. v. Dedeaux, 481 U.S. 41 (1987); and Metropolitan

Life Ins. Co. v. Taylor, 481 U.S. 58 (1987).

           4.       Venue is proper in the United States District Court for the Eastern District of

North Carolina, Western Division as this case was originally filed in Johnston County, District

Court Division, North Carolina, which lies within this District. See 28 U.S.C. § 1446(a); 28

U.S.C. § 113(a).

           5.       Pursuant to 28 U.S.C. § 1446(a) and Local Rule 5.3(a), the following documents

are included and attached hereto this Notice:

                    (a)      Civil Cover Sheet;
1
    The transcript of Plaintiff’s deposition was electronically delivered on October 12, 2018.



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                 (b)    Supplemental Removal Cover Sheet;

                 (c)    True and accurate copies of all process, pleadings, orders, and other

                        documents (excluding discovery) filed in the State Court Proceeding,

                        each attached as a separately and distinctly titled Exhibit: Exhibit A -

                        Summons and Complaint; Exhibit B – Notice of Enlargement of Time;

                        Exhibit C – Defendants’ Answer; Exhibit D – Defendants’ Motion for

                        Judgment on the Pleadings; Exhibit E – Motion and Order Continuing

                        Trial.

         6.      A true and complete copy of this Notice of Removal has been served by overnight

delivery upon the Clerk of the General Court of Justice of Johnston County, North Carolina for

filing in accordance with 28 U.S.C. § 1446(d). A copy of the Notice of Filing of Notice of

Removal is attached hereto as Exhibit F, the original of which is being filed with the General

Court of Justice of Johnston County, District Court Division, North Carolina Civil Clerk. This

Notice of Removal and a Notice of Filing of Notice of Removal have also been served via First

Class U.S. mail upon Plaintiff.

         WHEREFORE, Defendants Allscripts Healthcare Solutions, Inc. and Allscripts

Healthcare, LLC respectfully pray that the above-entitled action now pending in the General

Court of Justice, District Court Division of Johnston County, North Carolina, be removed to this

Court.



                        [SIGNATURE BLOCK ON FOLLOWING PAGE]




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Dated: November 1, 2018                 By: /s/ Elizabeth H. Pratt
                                            Elizabeth H. Pratt
                                            epratt@littler.com
                                            Molly M. Shah
                                            mmshah@littler.com
                                            LITTLER MENDELSON, P.C.
                                            Bank of America Corporate Center
                                            100 North Tryon Street, Suite 4150
                                            Charlotte, NC 28202
                                            Telephone: 704.972.7000
                                            Facsimile: 704.333.4005

                                        Attorneys for Defendants
                                        Allscripts Healthcare Soulutions, Inc. and
                                        Allscripts Healthcare, LLC




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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 1, 2018, I electronically filed the foregoing

DEFENDANT’S NOTICE OF REMOVAL with the Clerk of the Court using the CM/ECF

system, which will send notification of such filing to the following:

                                        Terry F. Rose
                                        PO Box 2847
                              Smithfield, North Carolina 27577
                                 Telephone: 919-938-1616
                                    tfroselaw@aim.com
                                   Attorney for Plaintiff



                                          /s/ Elizabeth H. Pratt
                                          Elizabeth H. Pratt
                                          epratt@littler.com




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